B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)

                                    UNITED STATES BANKRUPTCY COURT
                 Eastern
 _______________________________________                               Michigan
                                         District of ___________________________________________

      Ark Laboratory, LLC
In re __________________________________________                                                23-43403-mlo
                                                                                    Case No. _____________________
                                   Debtor
                                                                                                  11
                                                                                    Chapter ______________

                                                          CONTINUED
                                            SUBPOENA FOR RULE 2004 EXAMINATION

    James Grossi, Responsible Party to the Debtor.
To: ________________________________________________________________________________________
                                         (Name of person to whom the subpoena is directed)


   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
 PLACE                                                                                                     DATE AND TIME
Taft Stettinius & Hollister, LLP
27777 Franklin Road, Suite 2500                                                                              10:00 a.m. (ET) on Friday,
Southfield, Michigan 48034                                                                                   December 1, 2023



                                                 Court Reporter
The examination will be recorded by this method: ___________________________________________________________

    Production: You, or your representatives, must also bring with you to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:

 See Exhibit A' 52 +. 3.,.07.- 21 23 +./23. )6.4-*8! November 17! %#%&"


        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

       11/15/2023
Date: _____________
                                  CLERK OF COURT

                                                                                  OR             Kimberly Ross Clayson (P69804)
                                                                                            /s/ ________________________
                                  ________________________                                       Attorney’s signature
                                  Signature of Clerk or Deputy Clerk



The name, address, email address, and telephone number of the attorney representing (name of party)
____________________________
The Official Unsecured Creditor's Committee , who issues or requests this subpoena, are:
  Richard Kruger, Kimberly Ross Clayson and Judith Greenstone Miller, 27777 Franklin Rd., Ste. 2500, Southfield, MI 48034
  Rkruger@taftlaw.com, kclayson@taftlaw.com. Jgmiller@taftlaw.com, 248-351-3000



                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
              23-43403-mlo              Doc 354          Filed 11/15/23             Entered 11/15/23 12:58:11               Page 1 of 5
B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (Page 2)



                                                             PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual an
                                                 and title, if any): _______
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                                                                                                              _____
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: __________
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                                    _____ on (date) _______
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                                                             _____________ ; or

   I returned the subpoena unexecuted because: ___________
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Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ ______  _____
                                                                                                          ________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
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                                                                                            Server’s signature

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                                                                                          Printed name and title


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                                                                                            Server’s address


Additional information concerning attempted service, etc.:




              23-43403-mlo             Doc 354         Filed 11/15/23   Entered 11/15/23 12:58:11         Page 2 of 5
B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made
                           de applicable in bankrupt
                                                  ptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)


                23-43403-mlo               Doc 354           Filed 11/15/23          Entered 11/15/23 12:58:11                     Page 3 of 5
                              Exhibit A to Continued Subpoena

To: James Grossi
Produce copies of the following:

The following records requested on the record during the examination:

   1. The complete closing book for the Peninsula Fund IV (“Peninsula”) and Comerica Bank
      (“Comerica”) loans for the December 31, 2019 Membership Interest Redemption
      Agreement (“MIRA”) transaction funding.

   2. All agreements between Ark Laboratory, LLC (“Ark”) and Peninsula, in particular:
          a. The Note Purchase Agreement;
          b. Any and all amendments subsequent to the First Amended Note Purchase
             Agreement;
          c. The Subordinated Note Agreement;
          d. The First Amended Restated Subordinated Note Agreement;
          e. The Second Amended Restated Subordinated Note Agreement;
          f. The Third Amended Restated Subordinated Note Agreement;
          g. Any and all amendments subsequent to the Fourth Amended Restated Subordinated
             Note Agreement;
          h. The Covenant Agreement;
          i. The First Amended Covenant Agreement; and
          j. Any and all amendments subsequent to the Second Amended Covenant Agreement.

   3. The Beacon View usage of funds and/or settlement statement.

   4. The Medicare/Medicaid communication notes about the change in the interpretation of the
      Centers for Medicare and Medicaid Services, Local Coverage Determination(s) that,
      according to James Grossi’s (“Grossi”) October 17, 2023 Bankr. R. 2004 examination
      testimony (the “Grossi Exam”, reduced the amount of certain toxicology reimbursements.

   5. Quick books report on Comerica payment ledger from the date the loan was funded through
      the Ark’s bankruptcy petition date of April __, 2023.

   6. The Operating Agreement in effect after the effective date of the MIRA as defined therein.


   Additional information and records required but not requested at the last examination:


   7. All written communications between Ark and Coronis Medical Billing in connection with
      billing problems Grossi identified during the Grossi Exam.

   8. All written communication between and among Ark officers and employees internally and
      with, Medcare MSO, Blue Cross Blue Shield and Meridian regarding the erroneous billing
      denials.



  23-43403-mlo
129872352v1        Doc 354     Filed 11/15/23    Entered 11/15/23 12:58:11        Page 4 of 5
   9. Records on donations to the “women’s charity” that, according to the Grossi Exam, took
      place during Rachel Brown’s tenure.

   10. All written communications between and among Grossi, Comerica and Peninsula
       regarding Grossi’s compensation and also regarding breach of financial covenants.

   11. The settlement agreement between Ark, Nameer Kiminaia (“Kiminaia”) and Brian Tierney
       (“Tierney”) and/or the The Tierney Family Trust, Dated December 21, 2018, and The
       Nameer Kiminaia Living Trust Dated May 31, 2019 for the litigation subsequent to the
       MIRA among Kiminaia, Tierney and Ark.

   12. Emails by and between Kiminaia to Ark’s vendors regarding payments for Ark payables
       during the MIRA negotiations from August 1, 2020 through the effective date of the MIRA
       (January 19, 2021).

   13. Ark’s quarterly and monthly financial reports that Ark provided to Comerica in connection
       with the Comerica loan covenants.




  23-43403-mlo
129872352v1        Doc 354     Filed 11/15/23    Entered 11/15/23 12:58:11       Page 5 of 5
